  Case 2:10-md-02179-CJB-DPC Document 4457-58 Filed 11/01/11 Page 1 of 23

                                                                                                       Page 1
Not Reported in F.Supp., 1996 WL 185765 (E.D.La.)
(Cite as: 1996 WL 185765 (E.D.La.))




                                                          LYNN; the barge then dropped its spuds in a
Only the Westlaw citation is currently available.         “freefall” which was apparently done to prevent the
                                                          barge from moving out of position. (TEPI Exhibit
   United States District Court, E.D. Louisiana.          9, Coast Guard Report).
In the Matter of TORCH, INC., Owner or the L/B
Torch I and Operator of the M/V Chantel Lynn for              While dropping the spuds, each of which
   Exoneration From or Limitation of Liability.           weighed approximately 9000 pounds, one struck
                                                          and ruptured a pressurized gas line. Corry Giroir, a
          Civ.A. Nos. 94-2300, 95-1982.                   worker, had just lit his propane torch which then
                 April 16, 1996.                          apparently ignited the natural gas causing an explo-
                                                          sion and fire. Giroir was killed and a number of
              ORDER AND REASONS
                                                          other members of the crew were injured. In addition
DUVAL, District Judge.
                                                          to the subject suits, personal injury suits against
     *1 Texaco Exploration and Production Inc.
                                                          TEPI have been filed in Civil District Court for the
(“TEPI”) filed a Motion for Summary Judgment on
                                                          Parish of Orleans.
its claim against Torch, Inc. (“Torch”) for contrac-
tual defense and indemnity pursuant to a Master               TEPI contends that under the Master Work
Work Agreement allegedly entered into between             Agreement 88-159 (“MWA”) signed on May 9,
TEPI and Torch. Torch filed its own Motion for            1988, Torch agreed to hold it harmless and to in-
Summary Judgment seeking judgment that it is not          demnify it even if the injury to its employees was
contractually obligated to defend or indemnify            caused by TEPI's negligence. Furthermore, TEPI
TEPI, Texaco, Inc. and/or Texaco Pipeline, Inc.           contends that the Louisiana Offshore Indemnity
(collectively “Texaco entities”). The motions were        Act, La. Rev. Stat. 9:2780 is not implicated, be-
heard on March 20, 1996. For the reasons that fol-        cause it maintains that the contract between Torch
low, the Court finds that the TEPI-Torch contract at      and TEPI is a maritime contract.
issue herein is a maritime contract that allows for
the indemnification of TEPI; however, the breadth              On the other hand, Torch argues that (1) the
of that agreement does not include indemnification        MWA is not applicable to their dealings; (2) the
for punitive damages or for TEPI's own “wanton            agreement for work on July 6, 1994, was non-
and reckless” actions or its own gross negligence.        maritime and any alleged indemnity language is
Furthermore with respect the issue of whether TEPI        void under the Louisianan Oilfield Indemnity Act
breached the contract and the effect that breach on       (“LOIA”); (3) the MWA does not provide indem-
the indemnification agreement, material questions         nity if TEPI was willful and wanton or grossly neg-
of fact are present that prevent the entry of sum-        ligent; and (4) TEPI cannot benefit from the indem-
mary judgment in that regard.                             nity agreement as TEPI breached its agreement to
                                                          mark pipelines, and this material breach effectively
                   Background                             prevented Torch from safely performing the work
    These consolidated limitation of liability ac-        requested by TEPI.
tions concern an accident which occurred in the
Delta Duck Club Field between Main Pass and                   Standard for Motion for Summary Judgment
Octave Pass of the Mississippi River delta. On July            *2 Rule 56(c) of the Federal Rules of Civil
6, 1994, Torch was laying pipe for TEPI using the         Procedure provides that summary judgment should
spud barge TORCH I. In order to lay the pipe, the         be granted “if the pleadings, depositions, answers
barge was towed into place by the M/V CHANTEL             to interrogatories, and admissions on file, together




                          © 2011 Thomson Reuters. No Claim to Orig. US Gov. Works.
   Case 2:10-md-02179-CJB-DPC Document 4457-58 Filed 11/01/11 Page 2 of Page
                                                                        23 2
Not Reported in F.Supp., 1996 WL 185765 (E.D.La.)
(Cite as: 1996 WL 185765 (E.D.La.))




with the affidavits, if any, show that there is no          and misleading and they were obtained in violation
genuine issue as to any material fact and that the          of the Louisiana Rules of Professional Conduct.”
moving party is entitled to a judgment as a matter          (Memorandum in Opposition to TEPI's Motion for
of law.” Fed. R. Civ. P. 56(c). “The party moving           Summary Judgment at 7). These affidavits concern
for summary judgment bears the initial responsibil-         these employees' knowledge with respect to the in-
ity of informing the district court of the basis for its    terrelation of the MWA and the verbal work orders
motion, and identifying those portions of the record        for work performed by Torch in the Delta Duck
which it believes demonstrate the absence of a              Field. The affidavits do not concern any attorney-cli-
genuine issue of material fact.” Stults v. Conoco, 76       ent or privileged communications.
F.3d 651 (5th Cir. Feb. 29, 1996), (citing Skotak v.
Tenneco Resins, Inc., 953 F.2d 909, 912-13 (5th                 Apparently, no Louisiana court has squarely
Cir.) (quoting Celotex Corp. v. Catrett, 477 U.S.           addressed the issue of whether an opposing party's
317, 323 (1986)). When the moving party has car-            counsel may contact a former employee of an ad-
ried its burden under Rule 56(c), its opponent must         verse party corporation without consulting the
do more than simply show that there is some meta-           former employer's counsel. Furthermore, the juris-
physical doubt as to the material facts. The non-           prudence is far from clear whether the relevant rule
moving party must come forward with “specific               permits such communications. Compare Action Air
facts showing that there is a genuine issue for trial.      Freight, Inc. v. Pilot Air Freight Corp., 769 F.
” Matsushita Elec. Industrial Co. v. Zenith Radio           Supp. 899 (E.D.Pa. 1991) (Pennsylvania's rule of
Corp., 475 U.S. 574, 588 (1986) (emphasis sup-              professional conduct restricting ex parte commu-
plied); Tubacex, Inc. v. M/V Risan, 45 F.3d 951,            nication between attorney and party represented by
954 (5th Cir. 1995).                                        another attorney allowed defense counsel to make
                                                            ex parte contacts with plaintiff's former employees)
     Thus, where the record taken as a whole could          with Public Serv. Elec & Gas v. Associated Elec &
not lead a rational trier of fact to find for the non-      Gas, 745 F. Supp. 1037, 1039 (D.N.J. 1990) (ex
moving party, there is no “genuine issue for trial.”        parte communications with former employees of
Matsushita Elec. Industrial Co. v. Zenith Radio             adverse party corporation prohibited).
Corp., 475 U.S. 574, 588 (1986). Finally, the court
notes that the substantive law determines material-             *3 The rule implicated by this question is
ity of facts and only “facts that might affect the out-     Louisiana Rule of Professional Conduct 4.2 which
come of the suit under the governing law will prop-         provides:
erly preclude the entry of summary judgment.”
                                                                In representing a client, a lawyer shall not com-
Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 248
                                                              municate about the subject of the representation
(1986).
                                                              with a party the lawyer knows to be represented
    The court now turns to the merits of the TEPI             by another lawyer in the matter, unless the lawyer
and Torch motions with these standards in mind.               had the consent of the other lawyer or is author-
                                                              ized by law to do so. A lawyer shall not effect the
 Louisiana Rule of Professional Conduct 4.2 Al-               prohibited communication through a third party,
                                                                                             FN1
  lows Ex Parte Communications With Former                    including the lawyer's client.
 Employees Where No Privileged Information is
                   Implicated.                                  Torch relies on In re Shell Oil Refinery, 143
    The Court must first address the admissibility          F.R.D. 105, 107 (E.D.La. 1992) and Public Serv.
of certain affidavits presented by TEPI of two              Elec & Gas v. Associated Elec & Gas, 745 F. Supp.
former Torch vice-presidents which Torch contends           1037, 1039 (D.N.J. 1990) for its prohibitory inter-
should be excluded because “they are incomplete             pretation of this rule. It maintains that under Rule




                            © 2011 Thomson Reuters. No Claim to Orig. US Gov. Works.
  Case 2:10-md-02179-CJB-DPC Document 4457-58 Filed 11/01/11 Page 3 of Page
                                                                       23 3
Not Reported in F.Supp., 1996 WL 185765 (E.D.La.)
(Cite as: 1996 WL 185765 (E.D.La.))




4.2 TEPI was barred from speaking to these past              The Hanntz court indicated three primary reasons
employees.                                                   for its decision. We find these reasons persuasive.
                                                             First, Rule 4.2's underlying policies do not justify
     In the Shell Oil Refinery case, plaintiffs' coun-       the wholesale exclusion of former employees
sel obtained proprietary corporate documents con-            from the discovery process. Id. While Rule 4.2
cerning the defendant corporation through a then             preserves the posture of the adversarial system
current employee. The court examined Rule 4.2 in             and the attorney-client relationship, it should not
trying to discern whether plaintiff had a right to ex        necessarily chill the flow of harmful information
parte communication with the employee in ques-               Id.; see also Curley v. Cumberland Farms, 134
tion; however, it focused on the fact that plaintiffs'       F.R.D. 77, 83 (D.N.J. 1991). “The interest in pre-
counsel's actions were inappropriate and contrary to         venting inadvertent disclosure of privileged ma-
fair play because of their circumvention of the dis-         terial does not justify a blanket ban on commu-
covery process. Thus, in order to preserve the integ-        nication with the opposing party's former em-
rity of the judicial proceeding, the district court          ployees.” Polycast Technology Corp. V. Uniroy-
prohibited plaintiffs' counsel from using these doc-         al, 129 F.R.D. 621, 627-28 (S.D.N.Y. 1990).
uments. This case is inapposite to the one before
this Court, where the persons interviewed in this               *4 Second the Standing Committee of the
case are past employees of Torch, and there is no            American Bar Association probably intended the
exchange of proprietary information being made.              phrase “any other person” in the official com-
                                                                  FN3
                                                             ment      to apply to other current agents and ser-
     The Public Service case is likewise less than           vants of the employer. The comment's drafting
persuasive. It does stand for the proposition that the       history bears out this more restrictive interpreta-
American Bar Association Model Rule 4.2 prohib-              tion. Preliminary drafts limited the scope of a
its any informal contacts with an adverse party's            Rule 4.2 party to managerial employees....
former employee; however, the case has not been
widely followed and predates an ABA Formal                      Third, the commentary's language reads most
Opinion which contradicts the holding of the Public          consistently if the phrase “any other person
Service case.                                                whose act ... may be imputed to the corporation”
                                                             imputes liability based on the agency principle.
    A more compelling analysis and one which the             The two other tests for a represented party dis-
Court adopts herein is found in Action Air Freight,          cussed in the comments--persons whose mana-
769 F. Supp. at 903-04 which relies heavily on               gerial responsibilities or admissions bind the cor-
Hanntz v. Shiley, Inc. 766 F. Supp. 258, 265-69              poration--rely on this principle. Because former
               FN2
(D.N.J. 1991).       The Hanntz court found that “           employees do not qualify as agents of the corpor-
Rule 4.2 does not generally bar ex parte contacts            ation, they do not fall within the comment's im-
with former employees. Rather the rule permits ex            putation language.
parte contacts but proscribes inquiry by opposing
counsel into matters subject to the attorney-client            Further support for this position is found in the
privilege.” Thus, an attorney can investigate the un-      American Bar Association's Formal Opinion
derlying facts leading up to the disputed matter, but      91-359 (March 22, 1991) which stated:
he must forgo inquiry into attorney-client commu-            While the Committee recognizes that persuasive
nication during the contact.                                 policy arguments can be and have been made for
                                                             extending the ambit of Model Rule 4.2 to cover
    The Action Air, a Pennsylvania federal district          some former corporate employers, the fact re-
court, citing to the Hanntz decision continued:              mains that the text of the Rule does not do so and
                                                             the comment gives no basis for concluding that




                           © 2011 Thomson Reuters. No Claim to Orig. US Gov. Works.
  Case 2:10-md-02179-CJB-DPC Document 4457-58 Filed 11/01/11 Page 4 of Page
                                                                       23 4
Not Reported in F.Supp., 1996 WL 185765 (E.D.La.)
(Cite as: 1996 WL 185765 (E.D.La.))




  such coverage was intended. Especially where, as         “admission against interest” as Holland and Ingle
  here, the effect of the Rule is to inhibit the ac-       were not agents of Torch at the time of their aver-
  quisition of information about one's case, the           ments. However, their understanding of the work-
  Committee is loath, given the text of Model Rule         ing relationship between Torch and TEPI is subject
  4.2 and its Comment, to expand its coverage to           to discovery by TEPI without the necessity of
  former employees by means of liberal interpreta-         Torch's approval. There is no evidence that their
  tion.                                                    conclusions are based on any privileged communic-
                                                           ation with corporate counsel. Rather, these affi-
    (TEPI Supplemental Memorandum, Exhibit                 davits contain their perception of the relationship
“B”, ABA/BNA Lawyers' Manual on Professional               between a contractor and an oil company, and as
Conduct, 1001:104, No. 116 at 64 (3-25-92).                                                FN4
                                                           such are relevant to this case.

    Finally, in Dubois v. Gradco Systems, Inc., 136            *5 Our next inquiry is to determine whether the
F.R.D. 341 (D.Conn. 1991), the court noted the per-        terms of the MWA apply to the subject work being
suasive reasoning found in Polycast Technology             performed by Torch in the Delta Duck Field.
Corp. v. Uniroyal, Inc., 129 F.R.D. 621 (S.D.N.Y.
1991). The court noted:                                      The Master Work Agreement Applies to this Dis-
                                                                                  pute.
  The court in Polycast pointed out that to the ex-            Torch contends that the MWA did not apply to
  tent that Rule 4.2 and D.R. 7-104(A)(1) [its pre-        the work performed for TEPI in July of 1994, be-
  decessor] were formulated to preserve the integ-         cause (1) the MWA did not include TEPI by its
  rity of the attorney-client relationship, there          terms and (2) “Texaco” did not “direct” and the
  would be no current attorney-client relationship         Contractor did not “agree” as required by Paragraph
  to jeopardize in the case of a former employee.          5.G. of the MWA to do the job for TEPI. Both of
  Polycast, 129 F.R.D. at 625. The court in                these arguments are without merit.
  Polycast also observed that there was nothing in
  Rule 4.2 or the comment to justify departing from            The relevant contractual language upon which
  “the traditional view... that employees are not en-      Torch relies is as follows:
  compassed within the term 'party'... and so may
  be contacted without notice to the corporation's           The preamble to the MWA states:
  attorney.” Id. at 626; see also id. at 627.
                                                               This Agreement, made this 18th day of April
  “Whatever the right of the corporation to 'barri-
                                                             1988, in New Orleans, Louisiana, between
  cade' against ex parte contact those potential wit-
                                                             Texaco Inc., a Delaware Corporation with offices
  nesses who are current employee, ... former em-
                                                             in New Orleans, Louisiana (Texaco) and Torch,
  ployees are outside the ramparts. There is there-
                                                             Inc., a Louisiana corporation, with offices in
  fore no ethical bar against [plaintiff's attorneys
                                                             Belle Chasse, Louisiana (Contractor).
  having ex parte communication with [[[the
  former employee]....” Id. at 628.                             Thus, Texaco, Inc. is referred to as “Texaco” in
                                                           the contract.
    Id. at 344.
                                                               Paragraph 1.A. states:
     This analysis has equal force is it applies to the
affidavits of Edward Holland and George Ingle.               1. CONTRACTOR'S BASIS SERVICES, WAR-
The affidavits will not be stricken and will be con-         RANTY, STATUS AND SUBCONTRACTORS.
sidered by the Court. However, the Court will not
consider anything in these affidavits as an                    A. Work to Be Performed




                           © 2011 Thomson Reuters. No Claim to Orig. US Gov. Works.
  Case 2:10-md-02179-CJB-DPC Document 4457-58 Filed 11/01/11 Page 5 of Page
                                                                       23 5
Not Reported in F.Supp., 1996 WL 185765 (E.D.La.)
(Cite as: 1996 WL 185765 (E.D.La.))




    .... Contractor agrees that all work performed         companies are one and the same.
    for Texaco's New Orleans Operations Division
    shall be in accordance with this Agreement.                  “The corporation, upon [a] name change in its
                                                           name, is in no sense a new corporation, nor the suc-
  Paragraph 5.G. states:                                   cessor of the original one, but remains and contin-
                                                           ues to be the original corporation. It is the same
  G. Subsidiaries - Contractor agrees to perform           corporation with a different name, and its character
  work, whenever Texaco directs and Contractor             is in no respect changed.” 6 W. Fletcher, Cyclope-
  agrees, under the terms of this Agreement, for the       dia of the Law of Private Corporations § 2456 at
  following Texaco Inc. subsidiaries:                      264-5 (rev. perm. ed. 1989). As stated in Alley v.
                                                           Miramon, 614 F.2d 1372, 1384 (5th Cir. 1980),
      Texaco Producing Inc.
                                                           “[t]he change of a corporation's name is not a
      Getty Oil Company                                    change of the identity of a corporation and has no
                                                           effect on the corporation's property, rights, or liab-
    all Delaware corporations.                             ilities.” See National Union Fire Ins. Co. v. Stauffer
                                                           Chemical Co., 1991 WL 138431 (Del Super. July
    Contractor further agrees that these subsidiaries      15, 1991).
    are separate parties to this Agreement, and in
    this regard, wherever the word “Texaco” ap-                 *6 To claim that Torch, which had been doing
    pears in this Agreement, it shall be considered        work and accepting payment from TEPI since that
    to mean the party for whom the work is being           name change, was unaware of the change or that it
    performed, whether Texaco Inc. or these subsi-         abrogated the terms of the MWA is disingenuous at
    diaries. Accordingly, Contractor agrees that the       best, and the Court rejects Torch's contentions. The
    rights, duties and obligations of Texaco Inc.          Court's findings are further supported by the plain
    and each of these subsidiaries to the Contract-        language of Paragraph 5.G. which continues,
    or, and the rights, duties and obligation of the       “Contractor further agrees that these subsidiaries
    Contractor to Texaco Inc. and each of these            are separate parties to this Agreement, and in this
    subsidiaries are separate and distinct.                regard, wherever the word “Texaco” appears in this
                                                           Agreement, it shall be considered to mean the party
    Contractor further agrees to provide each of           for whom the work is being performed, whether
    these subsidiaries with additional insured and         Texaco Inc. or these subsidiaries.” (emphasis ad-
    waiver of subrogation endorsements to the              ded).
    same extent that these endorsements were
    provided Texaco Inc. in accordance with Para-               Torch's second argument is similarly faulty. It
    graph 4.D.                                             argues that “Torch is only required to indemnify
                                                           certain Texaco subsidiaries where Texaco so directs
    (TEPI Exhibit 1, MWA No. 88-159) (emphasis             and Torch agrees.” In other words, Torch asserts
added).                                                    that the phrase, “whenever Texaco directs and Con-
                                                           tractor agrees,” requires a specific offer and accept-
     As noted, Torch argues that because TEPI was
                                                           ance with respect to any work done for a Texaco
not specifically included in the Paragraph 5.G. of
                                                           subsidiary.
the contract, it was not a party and thus is not en-
titled to the benefits of the MWA. It is undisputed             As noted, the language following the specific
that the corporate name of Texaco Producing Inc.           phrase relied upon by Torch for this proposition be-
was changed on December 24, 1990 to Texaco Ex-             lies such an interpretation.
ploration and Production Inc. (“TEPI”). These two




                           © 2011 Thomson Reuters. No Claim to Orig. US Gov. Works.
  Case 2:10-md-02179-CJB-DPC Document 4457-58 Filed 11/01/11 Page 6 of Page
                                                                       23 6
Not Reported in F.Supp., 1996 WL 185765 (E.D.La.)
(Cite as: 1996 WL 185765 (E.D.La.))




     A maritime contract containing an indemnity               *7 Six factors outlined in the Davis case are
  agreement, whether governed by federal maritime          used in characterizing a contract. They are as fol-
  or Louisiana law, should be read as a whole and          lows:
  its words given their plain meaning unless the
  provision is ambiguous. Lirette v. Popich Bros.            (1) What does the specific work order in effect at
  Water Transport, Inc., 699 F.2d 725, 728 (5th              the time of injury provide?
  Cir. 1983) (applying federal maritime law); Ogea
                                                             (2) What work did the crew assigned under the
  v. Loffland Bros. Co., 622 F.2d 186, 189 (5th Cir.
                                                             work order actually do?
  1980) (applying Louisiana law); see also Day v.
  Ocean Drilling & Exploration Co., 353 F. Supp.             (3) Was the crew assigned to work aboard a ves-
  1350, 1351 (E.D.La. 1973)(Rubin, J.).                      sel in navigable waters?
     Weathersby v. Conoco Co., 752 F.2d 953,                 (4) To what extent did the work being done relate
955-56 (5th Cir. 1984). Looking at the contract as a         to the mission of that vessel?
whole, it is clear that Torch's obligations under the
contract ran to TEPI in equal measure as its obliga-         (5) What was the principal work of the injured
tions to Texaco Producing, Inc. The MWA applies              worker?
to the work performed that is the subject of these
       FN5                                                   (6) What work was the injured worker actually
suits.
                                                             doing at the time of injury?
  The MWA and Verbal Work Orders Constitute a
                Maritime Contract.                             The MWA states that the work to be performed
    The next inquiry is whether the MWA and the            was to:
verbal work orders constitute a maritime contract
                                                             [i]nstall list, bury and clean pipelines and risers,
controlled by maritime law rendering the Louisiana
                       FN6                                   install connection piping to wellheads and per-
Oilfield Indemnity Act      inapplicable and allow-
                                                             form as built surveys at various leases and/or
ing the enforcement of the indemnity provisions of
                                                             properties in Texaco's New Orleans Operations
the MWA. See Lewis v. Glendell Drilling Co., 898
                                                             Division. Work shall be performed as set forth in
F.2d 1083, 1085 n.5 (5th Cir. 1990).
                                                             the attached Exhibit “A” and in accordance with
     Again, this area of the law provides no “bright         any Texaco issued specification and/or written
line” test particularly where a contract is linked to        instructions, if applicable.
offshore gas and oil production. Indeed, as noted in
                                                                (TEPI Exh. 1, MWA, ¶ 1.A.). Exhibit “A” con-
Davis & Sons, Inc. v. Gulf Oil Corp., 919 F.2d 313
                                                           tains a list of barges and tugs and their hourly rates
(5th Cir. 1990), the contract in question can consist
                                                           including the TORCH I and the CHANTEL LYNN
of two parts, a blanket contract followed by later                                                   FN7
                                                           to be used in accomplishing these tasks.
work orders. In such a case, the two must be inter-
preted together in evaluating whether maritime or              With respect to the specific Delta Duck Field
land law is applicable to the interpretation and en-       job at which the accident occurred, TEPI had re-
forceability of the contract's provisions. Indeed,         quested that Torch lay the subject pipeline using a
“[i]f an injury occurs in the performance of a separ-      tug and barge. (Dep. of Lyle Stockstill, 30(B)(6)
able maritime obligation even though it is provided        Torch Witness, pp. 57-58). Torch was being paid
for by an initial blanket contract that is principally     by TEPI for furnishing a crew and barge. Id. at 93.
non-maritime, the complete contract is nevertheless        Raymond Alesich, the Torch superintendent, fore-
subject to maritime law.” Id. at 315.                      man, and owner of the CHANTEL LYNN, also




                           © 2011 Thomson Reuters. No Claim to Orig. US Gov. Works.
   Case 2:10-md-02179-CJB-DPC Document 4457-58 Filed 11/01/11 Page 7 of Page
                                                                        23 7
Not Reported in F.Supp., 1996 WL 185765 (E.D.La.)
(Cite as: 1996 WL 185765 (E.D.La.))




testified in his deposition that (1) Torch employees        the use of vessel in a maritime transaction and is a
“drove” the CHANTEL LYNN; (2) the TORCH I                   maritime contract governed by maritime law.).
was a barge and that it did pipelaying work; (3) it
had living quarters and one of the members of the               Because maritime law applies to this contract,
crew served as cook at the time of the accident; (4)        the declaration that all agreements to indemnify a
the water at the accident site was 15 feet deep; and        party for death or bodily injury caused by that in-
(5) while laying the pipe, the pipe ran straight off        demnitee contained in the Louisiana Oilfield In-
the stern of the barge into the water. (TEPI's Exhib-       demnity Act. La. Rev. Stat. 9:2780 is inapplicable.
it 13, Dep. of Alesich, at 28, 45, 48, 49, 50, 51,          Torch has pressed this Court to utilize the analysis
109, 117).                                                  contained in Meloy v. Conoco, 504 So. 2d 833 (La.
                                                            1987) (LOIA nullifies completely any provision in
     With these facts at hand, it is clear that the spe-    any agreement to which the statute is applicable
cific work order in effect at the time of the injury        which requires defense and/or indemnification
contemplated the use of two vessels in navigable            where there is any negligence or fault on part of in-
water which were integral to the performance of the         demnitee) and Matte v. Zapata Offshore Co., 784
work--that is laying pipe. The crew not only welded         F.2d 628 (5th Cir. 1986) (in OCLSA setting, choice
pipe and dropped the pipe into fifteen foot water,          of law provisions violate Louisiana public policy
they navigated the vessels and indeed one member            and are therefore void where state law would other-
even cooked on board the TORCH I. They appar-               wise apply) to render the indemnification agree-
ently slept on TORCH I as well. As such, the work           ment void. However, as maritime law applies, these
being done was integral to the mission of the ves-          cases are without force.
sel. The person killed, Corry Giroir was welding
the subject pipe, but it must be remembered that the         The Indemnity Language is Sufficiently Clear to
boat itself was the pivotal instrument being used for        Encompass Coverage for TEPI's Liability Based
this mission. The pipe was actually laid directly           on its Own Negligence and/or on Strict Liability.
from the stern of the boat. In other words, without            However, the Language at Issue Does not In-
the TORCH I and the CHANTEL LYNN, no pipe                     clude Indemnity for Gross Negligence, TEPI's
could be laid. Bearing these facts in mind, the              Alleged Wanton or Reckless Behavior, or Punit-
Court finds that the subject contract between TEPI                              ive Damages.
and Torch is maritime in nature, and thus, maritime              Under federal maritime law, indemnity con-
law will apply.                                             tracts are construed “to cover all losses, damages,
                                                            or liabilities which reasonably appear to have been
     *8 This result is supported in the jurisprudence       within the contemplation of the parties.” But a con-
as well. See Dupre v. Penrod Drilling Corp., 993            tract of indemnity “should not be read to impose li-
F.2d 474 (5th Cir. 1993) (contract for supply and           ability for those losses or liabilities which are
use of vessel for drilling, completing and tying            neither expressly within its terms nor of such a
back oil wells was “maritime contract”); Campbell           character that it can be reasonably inferred that the
v. Offshore Pipeline, Inc., 1993 WL 302623                  parties intended to include them within the indem-
(E.D.La. Aug. 5, 1993) (Sear, J.) (contract for lay         nity coverage.” Fontenot v. Mesa Petroleum Co.,
barge to weld together and lay pipe was maritime            791 F.2d 1207, 1214 (5th Cir. 1986), citing Corbitt
contract); Smith v. Penrod Drilling Corp., 960 F.2d         v. Diamond M. Drilling Co., 654 F.2d 329, 333 (5th
456 (5th Cir. 1992) (principal determinant is the re-       Cir. 1981).
lation the contract bears to the ship; where main
piece of equipment to be supplied by the contractor             The indemnity      provisions   of   the   MWA
was a vessel, contract is determined to focus upon          provide:




                            © 2011 Thomson Reuters. No Claim to Orig. US Gov. Works.
  Case 2:10-md-02179-CJB-DPC Document 4457-58 Filed 11/01/11 Page 8 of Page
                                                                       23 8
Not Reported in F.Supp., 1996 WL 185765 (E.D.La.)
(Cite as: 1996 WL 185765 (E.D.La.))




  4. RISK ALLOCATION, INDEMNITY, FORCE                     found a single case on point. However, the require-
  MAJEURE, INSURANCE, POLLUTION CON-                       ment of specificity in an indemnity contract is axio-
  TROL                                                     matic, and this indemnity provision is silent with
                                                           respect to gross negligence, wanton and reckless
    B. Indemnity.                                          behavior, and punitive damages on the part of
                                                           Texaco. “Before enforcing an indemnification
    (1) Contractor agrees to indemnify, defend, and
                                                           clause for an indemnitee's own negligence, a court
    hold Texaco, its subsidiaries and affiliated
                                                           must be firmly convinced that the exculpatory pro-
    companies, .. harmless from all claims, causes
                                                           vision reflects the intention of the parties.” Orduna
    of action, costs (including attorney's fees and
                                                           S.A. v. Zen-Noh Grain Corp., 913 F.2d 1149 (5th
    court costs), damages, judgment, or liabilities
                                                           Cir. 1990), citing United States v. Seckinger, 397
    which may be asserted by Contractor, its
                                                           U.S. 203, 211-12, 90 S. Ct. 880, 885-86, 25 L.
    agents, employees subcontractors and persons
                                                           Ed.2d 224 (1970)(4-3 decision)(courts are reluctant
    for    whom      Contractor      is    responsible
                                                           “to cast the burden of negligent action upon those
    (Contractor), Texaco or any third parties, on
                                                           who were not actually at fault”); see also Branch v.
    account of personal injury, death, or property
                                                           Fidelity & Cas. Co., 783 F.2d 1289, 1294 (5th Cir.
    damage caused by, arising out of, or incidental
                                                           1986) (“To secure indemnification from one's own
    to, Contractor's performance whether such per-
                                                           negligence ... the intent of the parties must be ex-
    sonal injury, death or property damage was
                                                           pressly and specifically manifested.”).
    caused by Contractor's sole fault or liability,
    the concurrent fault or liability of contractor            TEPI relies on Griffin v. Tenneco Oil Co., 625
    and Texaco, or Texaco's sole fault or liability,       So. 2d 1090 (La. App. 4th Cir. 1993) for the pro-
    and whether such fault or liability is based on        position that the subject indemnity agreement
    a theory of negligence, strict liability, or both.     would cover “gross negligence” and “wanton and
                                                           reckless” actions on the part of TEPI. However, the
     *9 TEPI has been sued in state court under La.
                                                           case is inapposite. The indemnity language at issue
Civ. Code art. 2315.3 which provides in relevant
                                                           in Griffin specifically excluded “willful miscon-
part:
                                                           duct” and included “gross negligence.” The Griffin
  In addition to general and special damages, ex-
                                                           court determined that “wanton and reckless” beha-
  emplary damages may be awarded, if it is proved
                                                           vior did not qualify as the type of intentional tort
  that plaintiff's injuries were caused by the de-
                                                           excluded under that agreement. Thus, the indemnity
  fendant's wanton or reckless disregard for public
                                                           provision was enforceable in Griffin.
  safety in the storage, handling, or transportation
  of hazardous or toxic substances.                             Contrarily, in the case at bar, the MWA indem-
                                                           nity agreement is silent with respect to gross negli-
    TEPI seeks indemnity for these punitive dam-
                                                           gence and/or liability for wanton and reckless beha-
ages sought in the Civil District Court suits. “The
                                                           vior. Such silence dictates its exclusion. Thus, this
determination as to whether defense or indemnific-
                                                           Court finds that the above-quoted indemnity lan-
ation is due must be made at the outset of the litiga-
                                                           guage does not include coverage for the gross neg-
tion by reference solely to the relevant pleadings
                                                           ligence of TEPI, its alleged wanton and reckless be-
and pertinent contractual provisions.” Sharp v.
                                                           havior or any award for punitive or exemplary dam-
Freeport Sulphur Company, 1991 WL 280069
                                                           ages awarded.
(E.D.La. Dec. 18, 1991), citing Sullen v. Missouri
Pacific R.R. Co., 750 F.2d 428 (5th Cir. 1985).                There is a line of cases beginning with Lanasse
                                                           v. Travelers Ins. Co., 450 F.2d 580 (5th Cir. 1971)
    The Court neither has been provided nor has
                                                           which Torch would have the Court follow. In




                           © 2011 Thomson Reuters. No Claim to Orig. US Gov. Works.
  Case 2:10-md-02179-CJB-DPC Document 4457-58 Filed 11/01/11 Page 9 of Page
                                                                       23 9
Not Reported in F.Supp., 1996 WL 185765 (E.D.La.)
(Cite as: 1996 WL 185765 (E.D.La.))




Lanasse, a crew member on a vessel under a time           platform crane negligence during cargo operations
charter was injured while offloading cargo from the       aboard the chartered vessel, the Court found that
vessel onto a Chevron platform. The crane was             the vessel owner in Gaspard owed no indemnity to
mounted on the platform. Chevron sought indemni-          Chevron.
fication from the vessel owner pursuant to a clause
in the charter agreement covering liability “arising           Torch claims that using the same analysis, it
in any way directly or indirectly connected with the      should be relieved from indemnity in the case at
possession, navigation, management, and operation         bar. The problem with this position is that it ignores
of the vessel.” Id. at 582 n.4. No indemnity was          the fact that it was the TORCH I spud that hit the
warranted because the injury had nothing to do with       gas line. The case before the Court is not one where
the operation of the vessel. In Smith v. Tenneco Oil      the person against whom indemnity is being sought
Co., 803 F.2d 1386 (5th Cir. 1986), likewise the          has absolutely no active involvement in the acci-
court refused to indemnify Tenneco when the sole          dent such as the Lanasse line would allow. Thus,
cause of injury to Smith was a crane operator's neg-      this argument too must be rejected.
ligence. As such the court found that the liability
                                                           Whether TEPI Breached the Contract With Re-
did not arise out of the performance of the charter
                                                           spect to its Duty of Cooperation and Alleged Re-
agreement.
                                                            quirement To Show Where Pipelines Were is a
     *10 Relying on a recent application of these          Material Question of Fact Precluding Summary
principles found in Gaspard v. Offshore Crane and                         Judgment on Issue.
Equipment, 1995 WL 144592 (E.D.La. March 31,                   Torch argues that TEPI breached their contract
1995), Torch has argued that it should not be re-         because (1) it failed to provide “required surveying
quired to indemnify TEPI. In Gaspard, a roughneck         services necessary to locate and mark the route of
working for a drilling contractor was offloading          the proposed line and all pipeline, cables or ob-
drillcollars from the vessel, when he was injured         structions in the work area;” and (2) for its failure
because part of a crane that was on Chevron's plat-       to cooperate. The first duty allegedly arises under
form fell on him. He sued Chevron under La. Civ.          the terms of the verbal contract; the second duty al-
Code art. 2322 for the “ruin” of its immovable plat-      legedly arises under Paragraph 6.A. of the MWA.
form. Chevron sought indemnity from the vessel            Whether these duties exist; whether they have been
whose charter party included the following lan-           breached; and whether such a would have an effect
guage requiring indemnity for liability:                  on the duty to indemnify present questions of fact
                                                          which preclude summary judgment. Accordingly,
  arising out of or in any way directly or indirectly
  connected with the performance of service under             IT IS ORDERED that TEPI's Motion for Sum-
  this agreement or the ownership, maintenance,           mary Judgment is GRANTED to the extent that the
  management, operation, transportation of passen-        contract between TEPI and Torch includes the
  gers, carrying of cargo, loading or unloading of        MWA and require indemnity for TEPI's negligence
  cargo, loading or unloading of passengers or nav-       and strict liability; however, it is DENIED with re-
  igating of the vessel.                                  spect to indemnity for its own reckless and wanton
                                                          behavior, its gross negligence, and punitive dam-
    The Court found the second part of this indem-        ages.
nity clause a “redundancy.” Then, based on the
above cited Fifth Circuit precedent wherein the               *11 IT IS ALSO ORDERED that Torch's Mo-
courts had found that the “arising out of or in any-      tion for Summary Judgment is DENIED in all re-
way directly or indirectly connected with the per-        spects save that the MWA does not require indem-
formance” language did not cover injury caused by         nity for TEPI's wanton and reckless actions or its




                          © 2011 Thomson Reuters. No Claim to Orig. US Gov. Works.
 Case 2:10-md-02179-CJB-DPC Document 4457-58 Filed 11/01/11 Page 10 of 23
                                                                    Page 10
Not Reported in F.Supp., 1996 WL 185765 (E.D.La.)
(Cite as: 1996 WL 185765 (E.D.La.))




gross negligence                                                    prohibits communications by a lawyer
                                                                    for one party concerning the matter in
        FN1. This rule is modeled on the ABA                        representation with persons having a ma-
        Model Rules of Professional Conduct 4.2.                    nagerial responsibility on behalf of the
        It is interesting to note that the model rule               organization, and with any other person
        was amended in the summer of 1995. It                       whose act or omission in connection
        now reads, “In representing a client, a law-                with that matter may be imputed to the
        yer shall not communicate about the sub-                    organization for purposes of civil or
        ject of the representation with a person the                criminal liability or whose statement
        lawyer knows to be represented by another                   may constitute an admission on the part
        lawyer in the matter, unless the lawyer has                 of the organization.
        the consent of the other lawyer or is au-
        thorized by law to do so. As of December                    The Action Air court noted that the ABA
        1995, no state has adopted this “new” rule.                 Official Comment defines three categor-
        The effect of this change is unclear. See T.                ies of people that qualify as a represen-
        Sonde & H. Gettman, “'Ex Parte' Inter-                      ted 'party' of a corporation: “1) persons
        views and 'Inadvertent' Disclosures--some                   with managerial responsibilities, 2) per-
        Traps for the Unwary”, CA27 ALI-ABA                         sons whose acts may be imputed to the
        249, 260.                                                   corporation; and 3) persons whose state-
                                                                    ments constitute an admission by the
        FN2. It should be noted that the Supreme                    corporation.” As this text makes no spe-
        Court of New Jersey, in In the Matter of                    cific mention of former employees, there
        Opinion 668 of the Advisory Committee on                    lies the source of the confusion.
        Professional Ethics, 134 N.J. 294, 633
        A.2d 959 (N.J. 1993), promulgated an in-                    Nonetheless, the Action Air court notes
        terim rule which prohibits the interviewing                 that because a former managerial em-
        of former control group employees or                        ployee lacks an existing agency relation-
        former employees whose conduct, in and                      ship with the corporation, he cannot bind
        of itself, establishes an organization's liab-              the corporation. Action Air, 769 F. Supp.
        ility. However, the rule is an interim meas-                at 903 citing Anderson v. United States
        ure, and the court ordered the matter to be                 417 U.S. 211, 218-19 n.6, 94 S. Ct.
        reviewed by a special committee to assess                   2253, 2260 n.6 (1974). Thus, a statement
        the effects of such a rule. That committee's                by a former employee cannot be intro-
        findings are unknown to the Court. The                      duced as an admission of the corpora-
        subject ruling did not examine the reasons                  tion. Fed. R. Evid. 801(d)(2)(D). The
        cited in Hanntz and as such, this federal                   Action Air court reasoned, “The first and
        district court in Louisiana is neither bound                third categories of represented parties,
        by the ruling, nor persuaded that it is the                 therefore, indicated in the comment, can-
        correct result.                                             not be interpreted to include former em-
                                                                    ployees. As a result, the outcome of this
        FN3. Louisiana apparently did not adopt                     case turns on whether the second cat-
        the Official Comment. The text to which                     egory of Rule 4.2, i.e. persons whose
        the court refers in pertinent part is as fol-               acts may be imputed to the corporation
        lows:                                                       applies to former employees.” The Ac-
                                                                    tion Air court found that Rule 4.2 did not
          In the case of an organization, this Rule




                          © 2011 Thomson Reuters. No Claim to Orig. US Gov. Works.
 Case 2:10-md-02179-CJB-DPC Document 4457-58 Filed 11/01/11 Page 11 of 23
                                                                    Page 11
Not Reported in F.Supp., 1996 WL 185765 (E.D.La.)
(Cite as: 1996 WL 185765 (E.D.La.))




          apply to former employees.

        FN4. While the Court has made much as to
        whether these affidavits are admissible, the
        Court notes that they are not critical to the
        finding that the MWA is applicable to
        Torch's work in the Delta Duck Field.

        FN5. Even in the deposition of Edward
        Holland taken after the confection of the
        TEPI affidavit, he states that it is standard
        operating procedure in the oil field that
        master work agreements are signed and
        they apply to whatever work is done for
        that company. Indeed, Holland admitted
        that the Texaco-Torch MWA is “about the
        same” as other oil company's master agree-
        ments. (Torch Exhibit B to its Opposition,
        Sworn Statement of Holland, pp.9-10). Mr.
        Ingle in his post-affidavit deposition also
        explained with respect to his averment that
        when a verbal work request was made, it
        was understood the master work agreement
        would apply, that statement meant “when
        you are working for a major oil company,
        you will not work for them unless you
        have a signed master service agreement.”
        (Sworn Statement of Ingle at 9).

        FN6. This Act found prohibits the type of
        contractual indemnity sought here. La.
        Rev. Stat. 9:2780.

        FN7. Edward Holland signed the MWA in
        question for Torch. (TEPI Exhibit No. 1).


E.D.La.,1996.
In Matter of Torch, Inc.
Not Reported in F.Supp., 1996 WL 185765
(E.D.La.)

END OF DOCUMENT




                          © 2011 Thomson Reuters. No Claim to Orig. US Gov. Works.
  Case 2:10-md-02179-CJB-DPC Document 4457-58 Filed 11/01/11 Page 12 of 23

                                                                                                           Page 1
Not Reported in F.Supp.2d, 1999 WL 1442054 (E.D.La.)
(Cite as: 1999 WL 1442054 (E.D.La.))




                                                           the valuation of litigious rights. Finally, a sealed
Only the Westlaw citation is currently available.          hearing was conducted on September 7, 1999, and
                                                           the court heard the testimony of two witnesses,
   United States District Court, E.D. Louisiana.           George Gilly and Steven Roberts, counsel for the
In the Matter of TT BOAT CORPORATION, et al                Walter Oil & Gas claimants.

       Nos. Civ.A. 98-0494, Civ.A. 98-1109.                     At the hearing, Gilly testified as to Global's
                   Sept. 8, 1999.                          perceptions at the time of its settlement with Tide-
                                                           water, and Roberts testified as to Walter's percep-
               ORDER AND REASONS
                                                           tion of its unrelated settlement with Tidewater. The
DUVAL, J.
                                                           thrust of Gilly's testimony was that Tidewater ini-
     *1 Before the court is the motion of Island Op-
                                                           tially offered sixty percent of the damages to the
erating to set the value of the litigious rights which
                                                           Cherokee, but ultimately Tidewater agreed to
Tidewater acquired from Global in their settlement
                                                           ninety percent, with Global assigning its rights
agreement dated April 16, 1999. Pursuant to that
                                                           against Island to Tidewater. The thrust of Roberts'
settlement agreement, Global assigned to Tidewater
                                                           testimony was that Walter settled with Tidewater
all of its claims against Island. Under the terms of
                                                           for seventy-five percent of its property damage. He
the April 16, 1999 agreement, however, the value
                                                           discounted the claim twenty-five percent-ten per-
of the assignment was unliquidated. Island has re-
                                                           cent of that related to Tidewater's potential ability
quested that the court set such value in order that
                                                           to limit and fifteen percent to Island's potential neg-
Island might exercise its option to redeem those
                                                           ligence. Walter did not assign its rights against Is-
rights from Tidewater pursuant to Louisiana Civil
                   FN1                                     land and Roberts admitted Walter had no claim
Code article 2652.
                                                           against Island by virtue of a contractual provision.
         FN1. In its Order and Reasons entered Au-
                                                           1. The Tidewater-Global Settlement Agreement
         gust 23, 1999, the court determined that
                                                                Counsel for both Tidewater and Global assert
         Louisiana's law regarding the redemption
                                                           that they had reached a settlement prior to March
         of litigious rights is applicable. Louisiana
                                                           27, 1999. Both Tidewater and Global maintain that
         Civil Code article 2652.
                                                           their original agreement was unaffected by the
     Both parties have suggested methods of valu-          court's April 14 ruling on Tidewater's inability to
ing the assigned rights. Both Tidewater and Island         limit its liability. The settlement agreement, me-
have submitted written briefs. In addition, Tidewa-        morialized in the letter dated April 16, 1999, reads
ter has submitted to the court, for its in camera in-      in pertinent part:
spection, a letter containing its retrospective valu-
                                                               A. Global agrees that it will:
ation of the assigned rights. George Gilly, counsel
for Global at the time of the settlement, acquiesced           1. Release Tidewater and the M/V GULF
in Tidewater's valuation. The letter was submitted         CAJUN from all liability for damages of any types
in camera as some of the information discussed in          or nature arising out of or relating to the allision on
the letter relates to evaluations, perceptions of liab-    February 16, 1998 with the Walter platform, includ-
ility, and other legal strategy which would be un-         ing but without limitation damages to the Barge
duly prejudicial to Tidewater if made available to         CHEROKEE, damages to the KINGFISH, loss of
its opponents in this litigation. Island offered the       use of those or any other vessels, and any other
expert opinion of the esteemed Saul Litvinoff on           consequential damages suffered or sustained by




                           © 2011 Thomson Reuters. No Claim to Orig. US Gov. Works.
  Case 2:10-md-02179-CJB-DPC Document 4457-58 Filed 11/01/11 Page 13 ofPage
                                                                        23 2
Not Reported in F.Supp.2d, 1999 WL 1442054 (E.D.La.)
(Cite as: 1999 WL 1442054 (E.D.La.))




Global or any of its related or subsidiary compan-         including but without limitation, loss of use, loss of
ies.                                                       profit or business interruption of any kind at any-
                                                           time.
     *2 2. Assign to Tidewater an interest in all of
its claims for damages of any kind arising out of or            2. Prospectively defend, indemnify and hold
relating to the aforesaid allision with the Walter         harmless Global and the CHEROKEE for liability
platform, including particularly but without limita-       to the personal injury claimants, including the
tion, those damages set forth in Global's Claim filed      pending suits in state court against Global employ-
against Tidewater in this proceeding.                      ees.

     3. Assign to Tidewater the sole right to prosec-          3. As of March 27, 1999, assume liability for
ute said claims in Global's name and to comprom-           any prospective maintenance and cure obligations
ise, settle or otherwise adjust and conclude said          of Global to personal injury claimants which are in-
claims for a sum and on such terms and conditions          curred subsequent to march 26, 1999.
as Tidewater in its sole discretion shall determine is
appropriate ...                                                4. Reimburse reasonable out-of-pocket ex-
                                                           penses (such as mileage, travel, etc.) incurred by
     5. Agree that any recovery by way of settle-          Global employees or other Global personnel whose
ment or otherwise from the claims prosecuted as set        presence is requested by Tidewater in connection
forth in the preceding subsections shall be paid as        with the litigation ...
follows:
                                                           2. The Court's Method of Evaluating the Value of
     (a) All costs and attorneys fees incurred in pro-     the Assigned Rights
secuting the above-described claims shall first be              Under the terms of the Tidewater-Global settle-
satisfied;                                                 ment agreement, Tidewater received both an as-
                                                           signment of Global's rights against Island and
    (b) Reimbursement in full of the amounts ex-           Global's release of it's claims against Tidewater. In
pended by Tidewater pursuant to paragraph B(1)             exchange, Tidewater agreed to pay to Global 90%
below shall be paid to Tidewater;                          of the provable damages to the CHEROKEE and to
                                                           indemnify Global for liability to personal injury
     (c) Any amounts in excess of those described
                                                           claimants, among other things. In essence, Tidewa-
in subparagraphs (a) and (b) shall be paid to Global
                                                           ter purchased Global's claims against Island.
...
                                                           However, the settlement agreement recited no price
     B. In consideration for the foregoing released        for the assignment.
ans assignment by Global, Tidewater agrees that it
                                                                So that Island may exercise its option to re-
will:
                                                           deem the rights assigned to Tidewater, the court
    1. Pay a sum to Global equal to 90% of the leg-        must apportion the price paid by Tidewater. In sev-
ally recoverable CHEROKEE physical damages                 eral instances, under Louisiana's law of contracts,
and related repair expenses such as towage, dry-           the court is called upon to fix a price. For example,
dock, survey and similar incidental repair expenses        the Louisiana Civil Code contemplates that it is the
resulting from the allision on February 16, 1998.          court's responsibility to determine the reasonable
However, as reflected by Paragraph 17 of the Mas-          price in a contract of sale when the parties have left
ter Time Charter Agreement between the parties,            its determination to a third person who is unable to
the sum referred to in this paragraph shall not in-        do so. La.Civ.Code article 2465. Additionally, in
clude indirect, special or consequential damages,          Slocum-Stevens Ins. v. International, 666 So.2d 352




                           © 2011 Thomson Reuters. No Claim to Orig. US Gov. Works.
  Case 2:10-md-02179-CJB-DPC Document 4457-58 Filed 11/01/11 Page 14 ofPage
                                                                        23 3
Not Reported in F.Supp.2d, 1999 WL 1442054 (E.D.La.)
(Cite as: 1999 WL 1442054 (E.D.La.))




(La.App.2d Cir.1995), the Second Circuit con-             cludes that on March 27, 1999, the reasonable fixed
cluded that when a litigious right is transferred to-     value of provable loss to the CHEROKEE damages
gether with a non-litigious right for a lump sum, an      totals $2,778,932. Tidewater agreed to pay ninety
apportionment of the price must be made in order to       percent of the provable loss to the CHEROKEE,
determine the part paid for the litigious right.          that is, $2,500,103.

    *3 Island expressed some concern as to the                 Next, the court must value Tidewater's indem-
timing of fixing the value of the rights assigned, as     nification of Global for the personal injury claims.
Tidewater has settled with some of the personal in-       The court finds that, as of March 27, 1999, the reas-
jury claimants and taken assignments from them.           onably anticipated value of all personal injury
According to Professor Litvinoff, the court should        claims which might have been asserted against
value the rights assigned as of the date of the as-       Global was $2,200,000. Tidewater and Global
signment, in essence, the “original price,” and the       could reasonably have believed that Global's por-
value of the assigned rights was unaffected by sub-       tion of the exposure to personal injury claimants
sequent settlements of Tidewater and certain per-         was forty percent of $2,200,000, or $880,000. At
sonal injury claimants. The court agrees with Pro-        the time of the settlement, the parties knew the
fessor Litvinoff.                                         number of personal injury claimants and generally
                                                          the potential exposure to the respective claims.
    Therefore, to determine the value of the rights       However, discovery as to the extent of the injuries
assigned to Tidewater, the court will engage in a                                         FN2
                                                          was not extensive at that time.
“reasonable person” analysis. That is, prior to
March 27, when the settlement agreement was                       FN2. Global was relieved of liability for
reached, what would reasonable parties have agreed                the allision per this court's Order and Reas-
was the value paid by Tidewater for the claims of                 ons, entered March 3, 1999. Therefore, at
Global against Island? The total reasonably estim-                the time of settlement, the only personal
ated value that Tidewater paid to Global minus the                injury claimants with potential claims
reasonable value of Global's release of Tidewater                 against Global were the Global employees
equals the value of the assignment. The Court does                and others injured on the CHEROKEE.
not make this analysis in a vacuum. The Court has                 Approximately eighteen of the personal in-
been intimately involved with all aspects of this                 jury claimants could have asserted claims
complex limitation proceeding as the result of nu-                against Global. Island has requested that
merous motions, a bifurcated trial to determine                   the court assign some value to the claims
Tidewater's ability to limit, and multiple confer-                which were settled and which remain un-
ences.                                                            settled, solely to facilitate settlement dis-
                                                                  cussions. Even at the time of the Tidewa-
3. The Total Value Paid by Tidewater Under the                    ter-Global settlement, the personal injury
Terms of the Agreement, as Perceived by the                       claimants who eventually settled (with the
Parties at the Time of Settlement                                 exception of Henry Leonard) had fairly
    The first issue to be addressed by the court is               minimal claims, which might have been
what reasonable parties would have believed was                   reasonably approximated at $250,000.
the total amount of legally recoverable physical                  With Henry Leonard's claim, the total reas-
damages to the CHEROKEE. To fix the redemption                    onably estimated value of the settled per-
value, the Court must ascertain the parties' inten-               sonal injury claims was $500,000.
tions at the time of the settlement agreement. Based
on material submitted for the court's in camera re-                  The court does not comment on the legal
view and the briefs of the parties, the court con-                   effect, if any, of the subsequent settle-




                          © 2011 Thomson Reuters. No Claim to Orig. US Gov. Works.
  Case 2:10-md-02179-CJB-DPC Document 4457-58 Filed 11/01/11 Page 15 ofPage
                                                                        23 4
Not Reported in F.Supp.2d, 1999 WL 1442054 (E.D.La.)
(Cite as: 1999 WL 1442054 (E.D.La.))




           ments on Island's rights.                      4. The Value of Global's Release of Tidewater
                                                               Global released its claims against Tidewater for
     Furthermore, Tidewater implicitly agreed to          the physical damage and loss of use of the CHERO-
bear the costs associated with the personal injury        KEE. As of March 27, 1999, the reasonable value
claims. If Global had to defend itself against the        of those claims was $2,084,199. This is computed
claims of the personal injury claimants, it would         by taking seventy-five percent of the $2,778,932.00
have incurred substantial defense costs, including        sum. In addition, Global released its claims against
the trial of this multi-claimant case. The sum of         Tidewater for the physical damage and loss of use
$150,000 is a reasonable value to Global in view of       of the KINGFISH, as well as loss of use of the
the circumstances involved in this case.                  Cherokee. Tidewater could have reasonably estim-
                                                          ated its exposure for these claims to be $500,000.
     *4 Additionally, Tidewater purchased Global's
                                                          Hence, the total value of Global's release of Tide-
claims against Island for loss of use of the Chero-
                                                          water was $2,584,199.
kee and damages to the KINGFISH. The KING-
FISH was another drilling barge which was in dis-         5. The Value of the Rights Assigned to Tidewater
tress and was the impetus for the voyage which                By subtracting the value of Global's release
ended in the allision. However, pursuant to the           ($2,584,199) from the total amount paid by Tide-
agreement, Global will receive all damages re-            water ($3,740,103), we are left with the value of the
covered in excess of Tidewater's payments and             assigned rights, or $1,115,904. Accordingly,
costs incurred as a result of the agreement. The
right to pursue Global's claims against Island relat-          IT IS ORDERED that Island must state its in-
ing to the loss of use of the CHEROKEE and dam-           tention to redeem the rights assigned to Tidewater
age to the KINGFISH were apparently of minimal            for $1,115,904 within 24 hours of issuance of this
value to Global. One of Global's experts, Guy             ruling.
Clark, had opined in an expert opinion submitted to
the Court that Island's failure to sound the foghorn           IT IS FURTHER ORDERED that if Island so
was not causally related to the allision. Perhaps         state its intention to redeem the rights assigned to
Tidewater placed a greater value on these assign-         Tidewater, payment is due within 30 days.
ment rights, but an estimate of $100,000 in pay-
                                                               Before the Court is a Motion to Reconsider
ment for these claims is more than reasonable con-
                                                          filed by Tidewater Marine Inc. (“Tidewater”). Tide-
sidering the circumstances at the time the settle-
                                                          water requests the Court to reconsider its Order and
ment was completed.
                                                          Reasons, entered September 8, 1999. The Court has
     In addition to its agreement to indemnify Glob-      reconsidered its ruling and finds some merit in
al for the personal injury claims, Tidewater agreed       Tidewater's motion. In its Order and Reasons, the
to pay Global's prospective maintenance and cure          Court set the value of Global's release of the claims
and reimburse Global's out-of-pocket expenses. On         of the loss of use of the Cherokee and the KING-
March 27, 1999, it would have been reasonable to          FISH damages at $500,000. After reconsideration,
anticipate that Global would owe $100,000 in pro-         the Court concludes that the value of the release
spective maintenance and cure and that Global             should be reduced to $250,000. Additionally, the
would spend $10,000 in out-of-pocket expenses in          court erred in its calculation of the amount paid by
assisting in this litigation.                             Tidewater for the release and assignment. The total
                                                          value given by Tidewater shall be reduced by
    By adding these figures, we arrive at the reas-       $100,000.
onable value of Tidewater's compromise, or
$3,740,103.                                                   *5 In support of its Motion for Reconsidera-




                          © 2011 Thomson Reuters. No Claim to Orig. US Gov. Works.
  Case 2:10-md-02179-CJB-DPC Document 4457-58 Filed 11/01/11 Page 16 ofPage
                                                                        23 5
Not Reported in F.Supp.2d, 1999 WL 1442054 (E.D.La.)
(Cite as: 1999 WL 1442054 (E.D.La.))




tion, Tidewater asserts that Clause 17 of the Master       ately $16,000,000 for the CHEROKEE loss of use
Time Charter Agreement specifically limits its liab-       and KINGFISH damages. Tidewater had not, at that
ility for consequential damages arising out of the         time, moved the Court for summary judgment on
Charter. Tidewater argues that, at the time of settle-     the issue of its liability for the consequential dam-
ment, Global had no plausible claims against Tide-         ages sought by Global.
water for the loss of use of the CHEROKEE and the
KINGFISH damages, and therefore, that portion of                The Court accepts as fact that, at the time of
the release should be valued at $0. Global relies on       settlement, Tidewater was aware of Clause 17 and
the provisions of the relevant Master Time Charter         intended to assert it as a defense. Global, too, may
for this proposition. The Court disagrees with this        have anticipated that Tidewater would raise such a
valuation for the reasons set forth below.                 defense. Thus, for this and other reasons, the parties
                                                           could not have reasonably believed that Tidewater
1. The Master Time Charter Agreement Between               would be liable for the entire $16,000,000. On the
Global and Tidewater                                       other hand, because the Court had not yet inter-
    Tidewater points to the language of the Master         preted Clause 17, Tidewater could not be certain
Time Charter Agreement in support of its Motion            that the Court would interpret the clause so as to re-
for Reconsideration. Clause 17 of the Master Time          lieve Tidewater of liability for the loss of use of the
Charter Agreement reads in pertinent part:                 CHEROKEE and KINGFISH damages. Thus, at the
                                                           time of settlement, Tidewater's reasonably anticip-
     OWNER and CHARTERER mutually waive                    ated exposure for the consequential damages would
any right to claim against the other, their insurers       have been somewhere between $0 and $16,000,000.
and employees for any indirect, special, or con-
sequential damages, including, without limitation,         3. Global's Defense to Clause 17
loss of use, loss of profit, or business interruption           *6 Considering the circumstances leading up to
of any kind, at any time, even if allegedly or actu-       the allision, Tidewater was arguably grossly negli-
                                                                 FN1
ally caused, in whole or in part, by negligence,           gent        with respect to the loss of use of the
strict liability, products liability and/or unseawor-      CHEROKEE and KINGFISH damages. Had Tide-
thiness attributable to the released parties. The sole     water moved for summary judgment on the issue of
restriction on the above is that the claims for such       consequential damages, Global would have likely
damages must have allegedly or actually arisen out         urged that Tidewater was grossly negligent in caus-
of, be related to, and/or be incidental to the charter-    ing the loss.
ing of a vessel pursuant to this Master Time Charter
Agreement.                                                          FN1. The Court is not expressing an opin-
                                                                    ion that Tidewater was grossly negligent in
    Based on this provision, Tidewater asserts that                 causing the allision, or even that Tidewater
Global had no claim against it for the loss of use of               was the proximate cause of the sinking of
the CHEROKEE and the KINGFISH damages.                              the KINGFISH. Rather, at the time of the
                                                                    Global-Tidewater settlement, gross negli-
2. Global's Claims Tidewater Prior to the Settle-                   gence was a defense that Global could
ment                                                                have raised to the contractual exclusion of
     As explained in its Order and Reasons entered                  liability.
September 9, 1999, the Court contemplated what
the parties reasonably perceived to be the value of            Global would have pointed out that Clause 17
the released claims at the time of the settlement. At      does not specifically exclude liability for con-
the time of the Global-Tidewater settlement, Global        sequential damages caused by gross negligence.
had asserted claims against Tidewater of approxim-         The clause only excludes liability for consequential




                           © 2011 Thomson Reuters. No Claim to Orig. US Gov. Works.
  Case 2:10-md-02179-CJB-DPC Document 4457-58 Filed 11/01/11 Page 17 ofPage
                                                                        23 6
Not Reported in F.Supp.2d, 1999 WL 1442054 (E.D.La.)
(Cite as: 1999 WL 1442054 (E.D.La.))




damages caused by “negligence, strict liability,          vision reflects the intention of the parties.” Orduna
products liability and/or unseaworthiness,” and is        S.A. v. Zen-Noh Grain Corp., 913 F.2d 1149 (5th
silent with respect to acts of gross negligence. This     Cir.1990), citing United States v. Seckinger, 397
Court has ruled that when an indemnity provision          U.S. 203, 211-12, 90 S.Ct. 880, 885-86, 25 L.Ed.2d
does not include coverage for gross negligence,           224 (1970)(4-3 decision)(courts are reluctant “to
such silence dictates its exclusion. As this Court        cast the burden of negligent action upon those who
found In the Matter of Torch, Inc., 1996 WL               were not actually at fault”); see also Branch v. Fi-
        *
185765, 8-9 (E.D.La.):                                    delity & Cas. Co., 783 F.2d 1289, 1294 (5th
                                                          Cir.1986) (“To secure indemnification from one's
     Under federal maritime law, indemnity con-           own negligence ... the intent of the parties must be
tracts are construed “to cover all losses, damages,       expressly and specifically manifested.”).
or liabilities which reasonably appear to have been
                                                                    *
within the contemplation of the parties.” But a con-          Id at 8-9. In other words, the Court will not
tract of indemnity “should not be read to impose li-      read “gross negligence” into an indemnity provi-
ability for those losses or liabilities which are         sion in which it is not specifically covered.
neither expressly within its terms nor of such a
character that it can be reasonably inferred that the     4. The Reasonable Value of the Release
parties intended to include them within the indem-             *7 Because the contractual limit on Tidewater's
nity coverage.” Fontenot v. Mesa Petroleum Co.,           liability was not briefed by the parties, and only
791 F.2d 1207, 1214 (5th Cir.1986), citing Corbitt        tangentially mentioned at the September 3, 1999
v. Diamond M. Drilling Co., 654 F.2d 329, 333 (5th        hearing, the Court did not consider the effect of
               FN2                                        Clause 17 in its September 8 Order and Reasons.
Cir.1981)....
                                                          Clause 17 certainly reduces Tidewater's potential
        FN2. The Court then cited in its entirety         exposure for consequential damages. Nonetheless,
        the relevant indemnity provision which            the parties could not have reasonably anticipated
        like the provision at bar was silent with re-     that Tidewater would be completely relieved of li-
        spect to gross negligence                         ability. Consequently, Tidewater's potential expos-
                                                          ure, as reasonably perceived by the parties at the
    “The determination as to whether defense or in-       time of settlement, should be reduced from
demnification is due must be made at the outset of        $500,000 to $250,000.
the litigation by reference solely to the relevant
pleadings and pertinent contractual provisions.”          5. Adjustment to the Value Tidewater Paid for the
Sharp v. Freeport Sulphur Company, 1991 WL                Assignment and Release
280069 (E.D.La. Dec. 18, 1991), citing Sullen v.               In its Response to Tidewater's Motion for Re-
Missouri Pacific R.R. Co., 750 F .2d 428 (5th             consideration, Island argues that the court erred in
Cir.1985).                                                valuing the assignment to Tidewater at $100,000.
                                                          Island is correct, and the court finds that the value
    The Court neither has been provided nor has           of the assignment is the excess of the amount actu-
found a single case on point. However, the require-       ally paid by Tidewater over the value of the release.
ment of specificity in an indemnity contract is axio-     Accordingly,
matic, and this indemnity provision is silent with
respect to gross negligence, wanton and reckless               IT IS ORDERED that Tidewater's Motion for
behavior, and punitive damages on the part of             Reconsideration is GRANTED and that the Order
Texaco. “Before enforcing an indemnification              and Reasons of September 8, 1999 is AMENDED
clause for an indemnitee's own negligence, a court        to provide that the value of the value of Global's re-
must be firmly convinced that the exculpatory pro-        lease of Tidewater for the loss of use of the CHER-




                          © 2011 Thomson Reuters. No Claim to Orig. US Gov. Works.
  Case 2:10-md-02179-CJB-DPC Document 4457-58 Filed 11/01/11 Page 18 ofPage
                                                                        23 7
Not Reported in F.Supp.2d, 1999 WL 1442054 (E.D.La.)
(Cite as: 1999 WL 1442054 (E.D.La.))




OKEE and the KINGFISH damages at $250,000
rather than $500,000 as previously set forth in the
September 8, 1999 decision. Thus the total value of
Global's release of Tidewater is $2,334,199.

     IT IS FURTHER ORDERED that the Order
and Reasons of September 8, 1999 is AMENDED
to provide that the total value paid by Tidewater for
the release and assignment is $3,640,103. There-
fore, the value of the assignment of Global's rights
against Tidewater is properly fixed at $1,305,904.
FN3

        FN3. The court recognizes that it made a
        typographical error in its Order and Reas-
        ons of September 8, 1999. The original es-
        timated value of the assigned rights should
        have been $1,155,904, rather than
        $1,115,904. The value of the assigned
        rights has since been adjusted to
        $1,305,904.


E.D.La.,1999.
In re TT Boat Corp.
Not Reported in F.Supp.2d, 1999 WL 1442054
(E.D.La.)

END OF DOCUMENT




                          © 2011 Thomson Reuters. No Claim to Orig. US Gov. Works.
  Case 2:10-md-02179-CJB-DPC Document 4457-58 Filed 11/01/11 Page 19 of 23

                                                                                                        Page 1
972 F.2d 666, 1994 A.M.C. 607
(Cite as: 972 F.2d 666)




                                                                        16k1.20(5) k. Torts in general; work-
                                                          ers' compensation. Most Cited Cases
         United States Court of Appeals,
                   Fifth Circuit.                         Insurance 217       1113
      Albert TAYLOR, Jr., et al., Plaintiffs,
    Mrs. Albert Taylor, Jr., Plaintiff-Appellant,         217 Insurance
                         v.                                  217III What Law Governs
LLOYDS UNDERWRITERS OF LONDON, et al.,                            217III(B) Preemption; Application of State
                    Defendants,                           or Federal Law
Stewart Arthur Holmes, as representative of Certain                217k1102 Particular Laws or Activities
  Underwriters at Lloyds, London, Defendant-Ap-                          217k1113 k. Maritime matters. Most
                      pellee.                             Cited Cases
                                                             (Formerly 217k512(1))
                 No. 91-3629.
                Sept. 24, 1992.                           Insurance 217       2261
Rehearing and Rehearing En Banc Denied Oct. 23,
                                                          217 Insurance
                     1992.
                                                              217XVII Coverage--Liability Insurance
     Injured seaman brought action seeking judicial              217XVII(A) In General
declaration that earlier federal court punitive dam-                  217k2261 k. Public policy limitations in
ages award in his favor and against company that          general. Most Cited Cases
chartered liftboat which capsized was recoverable             (Formerly 217k512(1))
from the company's insurer. The United States Dis-             Law of state having greatest interest in resolu-
trict Court for the Eastern District of Louisiana,        tion of issue should have been applied, rather than
Lansing L. Mitchell, J., granted the insurer's motion     general maritime law, when determining whether
for summary judgment concluding that general              injured seaman could recover punitive damages
maritime law prohibited the collection of punitive        from insurer for company that chartered liftboat
damages from insurer. Seaman appealed. The Court          which capsized, injuring seaman; there is no specif-
of Appeals, Emilio M. Garza, Circuit Judge, held          ic and controlling federal rule disallowing recovery
that law of state having greatest interest in resolu-     of punitive damages from an insurer in general
tion of issue should have been applied, rather than       maritime law cases.
general maritime law, when determining whether
                                                          *666 Michel P. Wilty, Robert Burke Keaty, Keaty
injured seaman could recover punitive damages
                                                          & Keaty, Lafayette, La., for Mr. & Mrs. Albert
from insurer.
                                                          Taylor, Jr.
    Reversed and remanded.
                                                          Paul N. Vance, Winston Edward Rice, Jon Wesley
                  West Headnotes                          Wise, Rice, Fowler, Kingsmill, Vance, Flint &
                                                          Booth, New Orleans, La., for appellees.
Admiralty 16       1.20(5)

16 Admiralty                                              Appeal from the United States District Court for the
   16I Jurisdiction                                       Eastern District of Louisiana.
      16k1.10 What Law Governs
                                                          Before SMITH and EMILIO M. GARZA, Circuit
         16k1.20 Effect of State Laws




                          © 2011 Thomson Reuters. No Claim to Orig. US Gov. Works.
  Case 2:10-md-02179-CJB-DPC Document 4457-58 Filed 11/01/11 Page 20 ofPage
                                                                        23 2
972 F.2d 666, 1994 A.M.C. 607
(Cite as: 972 F.2d 666)



                        FN*
Judges, and RAINEY,           District Judge.              for the payment of any punitive damages award.

                                                                Taylor subsequently filed a declaratory judg-
         FN* District Judge of the Southern District       ment action in Louisiana state court against Lloyd's,
         of Texas, sitting by designation.                 seeking a declaration that the three insurance
                                                                    FN2
                                                           policies       Lloyd's issued to Drynorth provide
*667 EMILIO M. GARZA, Circuit Judge:                       coverage for punitive damages and that Lloyd's is
     This is an appeal from a summary judgment.            required to pay the damages award assessed against
                                 FN1                       Drynorth. Lloyd's removed the case to federal
Albert Taylor, Jr. and his wife        originally filed
suit against Lloyd's Underwriters, Institute of Lon-       court, and the parties filed cross motions for sum-
don Underwriters, and Underwriters at Lloyd's,             mary judgment. Lloyd's argued that coverage for
London (collectively “Lloyd's”) in Louisiana state         punitive damages does not exist under any of the
court, which Lloyd's later removed to federal court.       three insurance policies covering Drynorth at the
In this action, Taylor sought a judicial declaration       time of the DMC-1's capsize. Taylor maintained,
that an earlier federal court punitive damages award       however, that the Comprehensive General Liability
in his favor and against Drynorth (USA), Inc. was          Insurance (CGL) policy provides coverage for pun-
                                                                          FN3
recoverable from Lloyd's, Drynorth's insurer. The          itive damages.
district court, concluding that general maritime law
                                                                   FN2. The three insurance policies are: (i)
prohibits the collection of punitive damages from
                                                                   Policy/Certificate number 22191-the Com-
an insurance company, granted Lloyd's motion for
                                                                   prehensive General Liability Insurance
summary judgment. Taylor now appeals. Finding
                                                                   policy; (ii) Policy/Certificate number
that the district court erred in applying general
                                                                   11877-the Excess Marine Liability Insur-
maritime law to this dispute, we reverse and re-
                                                                   ance policy; and (iii) Policy/Certificate
mand.
                                                                   number 22188-the Protection and Indem-
         FN1. Mr. Taylor has since passed away,                    nity Insurance policy.
         and Mrs. Taylor is pursuing this action.
                                                                   FN3. The CGL policy states in part that:
         The plaintiffs will be referred to as
         “Taylor”.                                                    The company will pay on behalf of the
                                                                      insured all sums which the insured shall
                           I
                                                                      become legally obligated to pay as dam-
     On October 16, 1985, the DMC-1-a liftboat
                                                                      ages because of [a] bodily injury or [b]
chartered to Drynorth-capsized in the Gulf of Mex-
                                                                      property damages to which this insur-
ico. As a result of the capsize, Taylor and several
                                                                      ance applies, caused by an occurrence ...,
other seamen were injured. Alleging that the DMC-
                                                                      but the company shall not be obligated
1 was unseaworthy, Taylor brought suit against
                                                                      to pay any claim or judgment or to de-
Drynorth in federal court under general maritime
                                                                      fend any suit after the applicable limit of
law. Following trial, the jury returned a verdict, as-
                                                                      the company's liability has been ex-
sessing $751,780 in compensatory damages and
                                                                      hausted by payment of judgments or set-
$500,000 in punitive damages against Drynorth.
                                                                      tlements.
Drynorth has not operated since 1986 and, at all
times relevant to the events surrounding this dis-                    Record Excerpts at tab 5, Taylor v.
pute, Drynorth has been insolvent. Accordingly,                       Lloyd's, No. 91-3629 (5th Cir. filed Oct.
Drynorth's insurers paid the majority of the com-                     22, 1991).
pensatory damages award and will be responsible




                           © 2011 Thomson Reuters. No Claim to Orig. US Gov. Works.
  Case 2:10-md-02179-CJB-DPC Document 4457-58 Filed 11/01/11 Page 21 ofPage
                                                                        23 3
972 F.2d 666, 1994 A.M.C. 607
(Cite as: 972 F.2d 666)




     Although the district court set forth the lan-        also Ingersoll-Rand Fin. Corp. v. Employers Ins.,
guage of the CGL policy in its Order and Reasons,          771 F.2d 910, 911-12 (5th Cir.1985), cert. denied,
the district court did not analyze the language of         475 U.S. 1046, 106 S.Ct. 1263, 89 L.Ed.2d 573
any of the insurance policies to determine whether         (1986) (“[T]he interpretation of a contract of mar-
the language provided coverage for punitive dam-           ine insurance is-in the absence of a specific and
ages; instead, the district court concluded that it had    controlling federal rule-to be determined by refer-
to first determine whether to apply Louisiana state        ence to appropriate state law.”), citing Wilburn
law or general maritime law to the dispute. Con-           Boat, supra.
cluding that general maritime law applies and that
maritime law disallows the recovery of punitive                     FN5. Because the CGL policy “insures
damages from an insurance company, the district                     against certain maritime risks and losses,”
court granted Lloyd's motion for summary judg-                      it provides maritime insurance within the
ment.                                                               meaning of Wilburn Boat, supra. See True-
                                                                    hart v. Blandon, 884 F.2d 223, 226 (5th
                           II                                       Cir.1989) (Because the “policy insures
     Taylor argues that, because Lloyd's removed                    against certain maritime risks and losses ...
this case to federal court on the basis of diversity                we conclude that it provides maritime in-
jurisdiction, the district court, in its capacity as an             surance within the meaning of Wilburn
      FN4
Erie        court, *668 should have applied Louisi-                 Boat....”).
ana law. Taylor argues that the district court erred
in applying maritime law and in granting Lloyd's                Lloyd's has presented this court with three
motion for summary judgment. Lloyd's, on the oth-          cases in support of the proposition that general
er hand, maintains that the dispute is a maritime          maritime law prohibits the collection of punitive
matter, and contends that the district court properly      damages from an insurance company. See Dubois v.
applied general maritime law to disallow the collec-       Arkansas Valley Dredging Co., 651 F.Supp. 299
tion of the punitive damages award from Lloyd's.           (W.D.La.1987); Smith v. Front Lawn Enterprises,
                                                           Inc., No. 83-5147, 1987 AMC 1130 (E.D.La., Sept.
         FN4. Erie R.R. Co. v. Tompkins, 304 U.S.          29, 1986); Northwestern Nat'l Casualty Co. v.
         64, 58 S.Ct. 817, 82 L.Ed. 1188 (1938).           McNulty, 307 F.2d 432 (5th Cir.1962). However,
                                                           these cases do not establish a specific and con-
     In determining the applicable law governing           trolling federal rule disallowing the recovery of
the interpretation of the CGL policy, our analysis         punitive damages from an insurance company.
begins with Wilburn Boat Co. v. Fireman's Fund
Ins. Co., 348 U.S. 310, 75 S.Ct. 368, 99 L.Ed. 337              In Smith, the district court considered whether
        FN5
(1955).       In Wilburn Boat, the Supreme Court           the Protection & Indemnity policy provided cover-
determined that there was no federal admiralty rule        age for punitive damages claims and, after examin-
regarding the breach of warranties in marine insur-        ing the insurance policy, the court found that the in-
ance policies and that the Court would not fashion         surance policy in question did not provide coverage
                                                                                          FN6
one, but would instead apply state law. Id. at             for punitive damage claims.         The Smith court
315-16, 75 S.Ct. at 371. Since 1955, this court, in        based its decision to disallow the recovery of punit-
addressing maritime cases, has interpreted Wilburn         ive damages on the specific language of the insur-
Boat to require “the application of state insurance        ance policy at issue, reasoning that “the clear lan-
law principles if there is no specific and controlling     guage of this portion of the policy is that payment
federal rule.” Truehart v. Blandon, 884 F.2d at 226,       will be made for injury or illness, thus suggesting
citing Transco Exploration Co. v. Pacific Employ-          compensatory damages.” Smith, 1987 AMC at 1130
ers Ins. Co., 869 F.2d 862, 863 (5th Cir.1989); see        . The district court addressed the question whether




                           © 2011 Thomson Reuters. No Claim to Orig. US Gov. Works.
  Case 2:10-md-02179-CJB-DPC Document 4457-58 Filed 11/01/11 Page 22 ofPage
                                                                        23 4
972 F.2d 666, 1994 A.M.C. 607
(Cite as: 972 F.2d 666)




public policy should permit an insurance company          eral law; it was a diversity case, where the district
to pay for punitive damages only in the penultimate       court interpreted the public policy of Virginia and
paragraph of the two-page opinion. That paragraph         Florida. Additionally, McNulty, involved auto-
states: “In conclusion, the Court notes that it has       mobile insurance, not maritime insurance. The
been held, in relation to an automobile liability         Smith court, then, while purporting to rely on McN-
policy, that public policy forbids an insurer and an      ulty, nevertheless primarily based its decision on
insured to enter into an insurance contract covering      the express policy language, buttressing its opinion
punitive damages.” Id. at 1131, citing McNulty, 307       with a citation to McNulty. Similarly, in Dubois, the
F.2d at 432.                                              court relied on both McNulty and Smith to reach its
                                                          conclusion that maritime law prohibits the recovery
        FN6. The policy in Smith did not expressly        of punitive damages from an insurance company.
        enumerate coverage for punitive damage            See Dubois, 651 F.Supp. at 299.
        liability. The policy language read in part:
                                                                   FN7. In McNulty, after examining an auto-
           this Company hereby undertakes to pay                   mobile liability policy in a diversity case,
           such sums as the assured ... shall have                 the court articulated the policy behind dis-
           become legally liable to pay and shall                  allowing wrongdoers to insure themselves
           have paid on account of: Loss of life of,               against punitive damages, stating:
           or injury to, or illness of, any person.
                                                                     It is not disputed that insurance against
           Smith, 1987 AMC at 1130.                                  criminal fines or penalties would be void
                                                                     as violative of public policy. The same
     The issue whether punitive damages may be
                                                                     public policy should invalidate any con-
collected from an insurance company was also ad-
                                                                     tract of insurance against the civil pun-
dressed by the district court in Dubois v. Arkansas
                                                                     ishment that punitive damages represent.
Valley Dredging Co., 651 F.Supp. 299
(W.D.La.1987). The Dubois court hypothesized                         McNulty, 307 F.2d at 440.
that all requisites to a recovery of punitive damages
were satisfied-that is, that the assured's actions             We find that these cases have not established a
were willful and wanton and that the *669 insur-          specific and controlling federal rule disallowing the
ance policy provided coverage for punitive dam-           recovery of punitive damages from an insurance
ages-but then held that, in any event, “enforcement       company. The district court, therefore, should have
of the insuring provisions of the policy would be         applied the law of the state having the greatest in-
contrary to public policy.” Id. at 302. Relying on        terest in the resolution of the issues. See Truehart v.
McNulty and Smith, the Dubois court concluded             Blandon, 884 F.2d 223, 226 (5th Cir.1989) (“In
that general maritime law prohibits the collection of     identifying the appropriate state law to apply, we
punitive damages from an insurance company, reas-         look to the state having the greatest interest in the
oning that public policy disallows recovery of pun-       resolution of the issues.”), citing Transco Explora-
itive damages from an insurance company. Id. at           tion Co. v. Pacific Employers Ins. Co., 869 F.2d
302-03.                                                   862, 863 (5th Cir.1989). Accordingly, we find that
                                                          the district court erred in granting summary judg-
     Both district court cases rely heavily on McN-       ment in favor of Lloyd's on the basis of maritime
     FN7
ulty      to arrive at their conclusion that punitive     law.
damages are not recoverable against an insurance
company under general maritime law. The thirty-                                  III
year old McNulty decision did not even involve fed-           For the foregoing reasons, we REVERSE and




                          © 2011 Thomson Reuters. No Claim to Orig. US Gov. Works.
 Case 2:10-md-02179-CJB-DPC Document 4457-58 Filed 11/01/11 Page 23 ofPage
                                                                       23 5
972 F.2d 666, 1994 A.M.C. 607
(Cite as: 972 F.2d 666)




REMAND to the district court to determine wheth-
er punitive damages may be recovered under the
appropriate state law.

C.A.5 (La.),1992.
Taylor v. Lloyd's Underwriters of London
972 F.2d 666, 1994 A.M.C. 607

END OF DOCUMENT




                         © 2011 Thomson Reuters. No Claim to Orig. US Gov. Works.
